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 EXHIBIT A
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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW HAMPSHIRE

 MANIKANTA PASULA, et al

                     Plaintiffs,

                         v.
                                                     Case No.
 U.S. DEPARTMENT OF HOMELAND
 SECURITY, et al,

                   Defendants.


                       DECLARATION OF MANIKANTA PASULA

I, Manikanta Pasula, pursuant to 28 U.S.C. § 1746, declare as follows:

       1.      My name is Manikanta Pasula, and I am over the age of 18.

       2.      I am a citizen of India. I live in New Hampshire.

       3.      I came to the United States under an F-1 visa for a Master’s program at the

University of Bridgeport in Connecticut on January 5, 2024. Due to personal reasons, I transferred

to Rivier University on January 29, 2024. I am majoring in computer science. I am in the process

of completing my third semester. After this semester, I have one more semester before I can get

my degree and also apply for my Optional Practical Training (OPT) in the field of computer

science. I have spent so far approximately $45,000 for my education in the United States.

       4.      I was arrested and charged with driving without a valid license on March 25, 2024.

While I showed my car registration and Indian driver’s license, the police officer did not accept

my Indian license as a valid license. Unfortunately, my Indian driver’s license was not an

international driving permit. Although I explained to the officer that I had taken a written exam at

a local DMV and had a follow up appointment in the following week, the officer arrested me.

       5.      When I went to the Court on April 30, 2024, the judge said that the judge was not

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sure about whether I actually committed an offense. However, because I was not familiar with the

criminal justice system in the United States, I pleaded guilty and paid a fine of $248.

       6.      On April 4, 2025, I received an email from Rivier University that the State

Department revoked my visa.

       7.      In the same email, the University indicated that my SEVIS record was terminated.

The email also indicated that I was out of status.

       8.      On April 10, 2025, I separately received an email from the U.S. Consulate General,

Mumbai, that confirmed that my visa was revoked. The email from the U.S. Consulate General

indicated that “[r]emaining in the United States without a lawful immigration status can result in

fines, detention, and/or deportation.”

       9.      I am deeply afraid of being detained and deported because my SEVIS record has

been terminated. As an international student in the United States, my legal status is entirely

dependent on my SEVIS record being active and in good standing. Once it is terminated, I am

considered "out of status," which makes me vulnerable to immigration enforcement actions.

       10.     I am extremely concerned about how the termination of my SEVIS record will

affect my ability to successfully complete my academic program and pursue Optional Practical

Training (OPT), which is an essential part of my career development and future plans.

       11.     I am feeling emotionally and mentally strained. I came to the United States with a

lot of dreams to fulfil, but I fear that I could not achieve this dream of completing my studies.

       12.     I have maintained my student status through my F-1 student status including

attending a full course of studies.

       13.     I have not engaged in any unauthorized employment in the United States.

       14.     I have been truthful to U.S. government officials.



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       15.     I have not been convicted of any crime of violence in the United States.

       16.     I am not aware that the U.S. government put me in the federal register to terminate

my F-1 student status.

       17.     I want to be a named plaintiff in this case. I understand that, as a class

representative, it would be my responsibility to represent the interests of all the class members in

this lawsuit, and not just my own personal interests. I also understand the need to stay informed

about what is happening in the case.

       18.     I understand that I am agreeing to represent many students and graduates like me.



I declare under penalty of perjury that the foregoing is true and correct.




Manikanta Pasula
Executed on April 16, 2025.




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